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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                    CASE NO. 3:20-cr-78-J-39MCR

IVAN JACOB ZECHER


                                          ORDER

       Pursuant to Fed. R. Crim. P. 48(a), the United States has requested the Court

dismiss the Indictment against Defendant IVAN JACOB ZECHER, without prejudice.

Leave of Court is granted and the Indictment is dismissed against Defendant in the

above-captioned case without prejudice. Further, the United States Marshal Service is

hereby directed to immediately release Defendant upon receipt of this Order. The Clerk

of Court is directed to close the file.

       DONE AND ORDERED at Jacksonville, Florida, this 4th day of September 2020.




Copies to:
Assistant United States Attorney (Mesrobian)
Matthew Barnett, Esq.
United States. Marshal Service
United States Pretrial Services
United States Probation Office
